     Case 1:25-cv-00418-CJN          Document 17-11        Filed 02/24/25     Page 1 of 3




            DECLARATION OF YESSIKA AURIMAR PALMA RODRIGUEZ

I, Yessika Aurimar Palma Rodriguez, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I
      could and would do so competently and truthfully to these matters.

   2. My name is Yessika Aurimar Palma Rodriguez. I am the older sister of Jose Daniel
      Simancas Rodriguez. My family and I refer to him by his middle name, Daniel. Daniel is
      30 years old and entered the United States on or around May 20, 2024. He was
      immediately detained upon entering the United States and spent approximately ten
      months at the El Paso Processing Center in Texas.

   3. I am submitting this declaration because my brother has been transferred to the military
      base on Guantánamo Bay, Cuba. I am very worried about his well-being because our
      family has not heard from him since February 7, 2025, and because he was injured at the
      El Paso Processing Center shortly before his transfer to Guantánamo. My brother also
      suffers from a brain tumor, anxiety, and depression and requires serious medical
      treatment, including surgery for his brain tumor. Even before his transfer to Guantánamo,
      my brother was presenting unwell. He cried frequently in communications with loved
      ones while at El Paso Processing Center. He was losing a lot of weight, had bags under
      his eyes from lack of proper sleep. He required medication from the infirmary to help him
      sleep.

   4. My brother never had the opportunity to see an immigration judge and did not have an
      immigration attorney to represent him, but wanted one to help him with his case. Upon
      being detained, he was told by immigration officials that he would be detained for 180
      days, but as far as I am aware, he did not have the opportunity to present any case. U.S.
      immigration officers told him he would never be allowed to live in the United States and
      forced him to sign his deportation.

   5. At one point while in detention, Daniel managed to get in touch with an organization
      based in Washington, DC. He found the number posted somewhere in the detention
      center. A woman from that institution tried to intervene in his case and requested a
      response from immigration officials as to the status of Daniel’s case. Immigration officers
      responded by telling Daniel he would be deported to Venezuela.

   6. My family was in regular communication with Daniel prior to his transfer. My cousin
      even visited him in person a few times and she was the last to speak with him by video
      call on February 7, 2025. I remember the day because I became very sick that day and
      needed to go to the hospital that day and I recall also being glued to the news in case my
      brother appeared as one of the people transferred to Guantánamo. During the call
      between Daniel and my cousin, he told my cousin that if the family did not hear from
      him, it meant he had been transferred to Guantánamo.
     Case 1:25-cv-00418-CJN           Document 17-11        Filed 02/24/25      Page 2 of 3




   7. As it turned out, we think he was transferred to Guantánamo early the next day, on
      February 8.

   8. Immigration officers accused Daniel of being a terrorist and a member of Tren de Aragua,
      but my brother is neither and has never been. He has a few relatively small tattoos, and
      they are not gang-related. In fact, most of his tattoos were done by me and the father of
      my children when Daniel was a teenager. The father of my children and I were young
      adults and were learning how to tattoo and Daniel let us tattoo him. His tattoos include a
      star, his name, the initials of one of his children, and a motivational quote.

   9. When my family stopped hearing from Daniel, we feared he had been transferred to
      Guantánamo. We searched for any information online. On February 13, I found a list of
      names of people who were detained at Guantánamo. I saw Daniel’s name on the list, and
      I had a very mixed reaction. I was relieved to know where he was, but I also felt distress
      because he was in Guantánamo and not able to communicate with the family. I also felt
      worried because the guards at El Paso Processing Center told him and other detainees that
      they would not feel manly after being sent to Guantánamo, which I believe are threats of
      torture.

   10. It has been over one week since my family and I have last heard from Daniel. We have
       not received any information from the U.S. government about where Daniel is or how to
       contact him.

   11. I am so worried about Daniel and believe that he needs to have a lawyer to help him. I
       want my brother to have access to an attorney so that they can help him with his
       immigration case and get him out of Guantánamo. My brother needs serious medical
       attention, and I would like him to be released imminently so that he can receive proper
       care. I understand that there are legal organizations in this case who would offer Daniel
       services and I would like them to represent him if they are able to communicate with him.
       I believe that it would be in my brother’s best interest to have this legal representation. I
       also believe it is in my brother’s best interest to be returned to the United States from
       Guantánamo.

   12. Everything in this declaration is true and correct to the best of my knowledge and
       recollection. This declaration was read back to me in Spanish, a language in which I am
       fluent.


                 21 day of February, 2025 at Durán, Ecuador.
Executed on the _____




Yessika Aurimar Palma Rodriguez
      Case 1:25-cv-00418-CJN          Document 17-11        Filed 02/24/25      Page 3 of 3




                              CERTIFICATE OF TRANSLATION

       I, Jennifer Reyes, certify that I am fluent in both English and Spanish. On February 20,

2025, I personally spoke with Yessika Aurimar Palma Rodriguez and read the foregoing

declaration to her, translated into Spanish faithfully and accurately, over the phone. Ms. Palma

Rodriguez affirmed that she understood my translation and that the information in the above

declaration is true and accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




_______________________________
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